Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21   Page 1 of 19 PageID 8




                EXHIBIT 1




                                                          Exhibit 1
3/25/2021                                                                 Details
                Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21                    Page 2 of 19 PageID 9




        Case Information

        CC-21-00905-B | CRYSTAL JONES vs.THE KROGER CO. D/B/A KROGER

        Case Number                               Court                              Judicial Officer
        CC-21-00905-B                             County Court at Law No. 2          BELLAN, MELISSA
        File Date                                 Case Type                          Case Status
        03/10/2021                                DAMAGES (NON COLLISION)            OPEN




        Party

        PLAINTIFF                                                                    Active Attorneys 
        JONES, CRYSTAL                                                               Lead Attorney
        Address                                                                      BARLOW, MELINDA HOFFMAN
        1309-A WEST ABRAM STREET                                                     Retained
        ARLINGTON TX 76013




        DEFENDANT                                                                    Active Attorneys 
        THE KROGER CO. D/B/A KROGER                                                   Pro Se
        Address
        SERVE ITS REGISTERED AGENT: CORPORATION SERVICE COMPANY
        D/B/A CSC-LAWYERS, INC                                                       Lead Attorney
        211 E 7TH STREET, SUITE 620                                                  BRISCOE, B KYLE
        AUSTIN TX 78701                                                              Retained




        Events and Hearings


            03/10/2021 NEW CASE FILED (OCA)


            03/10/2021 ORIGINAL PETITION 


            PLAINTIFFS ORIGINAL PETITION

              Comment
              PLAINTIFFS ORIGINAL PETITION

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                        1/3
3/25/2021                                                                 Details
                 Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21                   Page 3 of 19 PageID 10
             03/11/2021 ISSUE CITATION 


             ISSUE CITATION

               Comment
               TRACKING # 9414 8149 0238 8738 2435 74


             03/11/2021 SERVICE - CERTIFIED / REGISTERED MAIL


             03/11/2021 CIVIL CASE INFORMATION SHEET 


             CIVIL CASSE INFORMATION SHEET


             03/11/2021 CITATION (SERVICE) 


             Unserved

             Anticipated Server
             CERTIFIED MAIL

             Anticipated Method


             03/25/2021 ORIGINAL ANSWER - GENERAL DENIAL 


             Answer. Orig (03-25-21).pdf




        Financial

        JONES, CRYSTAL
                Total Financial Assessment                                                                $351.00
                Total Payments and Credits                                                                $351.00


            3/11/2021     Transaction Assessment                                                         $351.00

            3/11/2021     CREDIT CARD - TEXFILE (CC)         Receipt # CV-2021-02296   JONES, CRYSTAL   ($351.00)




        Documents


             PLAINTIFFS ORIGINAL PETITION
             ISSUE CITATION
             CIVIL CASSE INFORMATION SHEET
             Answer. Orig (03-25-21).pdf

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                             2/3
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                 EXHIBIT 2




                                                          Exhibit 2
                                Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21                             Page 5 of 19 PageID 12

                                                                                                                                             CERTIFIED MAIL
                                 THE STATE OF TEXAS                                                                                            CITATION
                                     CITATION                                                                                       PLAINTIFF'S ORIGINAL PETITION
                                   CAUSE NO. CC-21-00905-B                                                                                   CC-21-00905-B
                                 COUNTY COURT AT LAW NO.2
                                      Dallas County, Texas                                                                          IN THE COUNTY COURT OF DALLAS
                                                                                                                                          County Court at Law No. 2
TO:                                                                                                                                      ·Dallas County, Texa.S
        THE KROGER CO. D/B/A KROGER
        SERVE ITS REGISTERED AGENT CORPORATION SERVICE COMPANYD/B/A CSC-LAWYERS, INC.
                                                                                                                                        CRYSTAL JONES, Plaintiff(s)
        211 E 7TH STREET SUITE 620
        AUSTIN TX 78701
                                                                                                                                                    vs.
                                                                                                                                     THE KROGER CO. DIB/A KROGER,,
      "You have been sued. You may employ an attorney. Ifyou or your Attorney do not file a WRITTEN ANSWER with
                                                                                                                                             Defendant(s)
      the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you
      were served this citation and PLAINTIFF'S ORIGINAL PETITION, a default judgment may be taken against you. In
      addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other parties of   SERVE:
      this suit. These disclosures generally must be made no later than 30 days after you file your answer with the clerk. Find      TfiE KROGER CO. D/B/A KROGER
      out more at TexasLawHelp.org." Your answer should be addressed to the clerk of County Court at Law No. 2 of Dallas             SERVE ITS REGISTERED AGENT
      County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202. '                       CORPORATJON SERVICE COMPANY
                                                                                                                                         D/B/A CSC-LA WYERS, INC.
                                                                                                                                        211 E 7TH STREET SUITE 620
                                                                                                                                              AUSTIN TX 78701
                                               · CRYSTAL JONES
                                                    Plaintiff(s)                                                                             ISSUED THIS
                                                                                                                                       11TH DAY OF MARCH, 2021
                                                        vs.
                                                                                                                                     JOHN F. WARREN, COUNTY CLERK
                                      THE KROGER CO. D/B/A KROGER                                                                    BY: GUISLA HERNANDEZ, DEPUTY
                                              Defendant(s)
                                                                                                                                           Attorney for Plaintiff
      filed in said Court on the lOth day of March, 2021, a copy of which accompanies this citation.                                  MELINDA HOFFMAN BARLOW
                                                                                                                                           HARRIS COOK LLP
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                         1309-A WEST ABRAM
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 11th day of March, 2021 A.D.                                            ARLINGTON TX 76013
                                                                                                                                              817-275-8765
      JOHN F. WARREN, Dallas County Clerk


       By   (/~v__ 11-&ut..tA.-U.$, Deputy
               Guisla Hernandez
                                                                                                    ~FILED

(
    Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21              Page 6 of 19 PageID 13   3/10/202111:19 PM
                                                                                           JOHN F. WAR\l·:=N
                                                                                             COUNTY CL~RK
                                                                                            DALLAS COUNTY



                                     CAUSE NOCC-21-00905-B

     CH.YSTAL JONES                              §           IN THE COUNTY COURT
                Plaintiff,                       §
                                                 §
                                                 §
                                                 §
     vs.                                         §                ATLAWNO. _ _
                                                 §
     THE KROGER CO. d/b/a                        §
     KROGER                                      §
              Defendant.                         §      DALLAS COUNTY, TEXAS

                               PLAINTIFF'S ORIGINAL PETITION

               Plaintiff, CRYSTAL JONES, file this Original Petition complaining of

     Defendant THE KROGER CO. d/b/a KROGER and forsame would respectfully

     show the Court the following:

                                                I.
                                             PARTIES

               1.    Plaintiff CRYSTAL JONES is an individual residing in Dallas,

     Dallas County, Texas. The last three digits of Plaintiff CRYSTAL JONES's social

     security number aTe 627. The last th1·ee digits of Plaintiff CRYSTAL JONES's

     driver's license number are 074.


               2.    Defendant THE KROGER CO. d/b/a KROGER is a foreign for-

     profit corporation duly authorized to conduct business in the state of Texas. Said

     Defendant may be served with civil process by serving its registered agent for

     service, Corporation. Service Company d/b/a CSC-Lavvyers, Inc., 211 E.         7th


     Street, Suite 620, Austin, Texas 78701 or wherever it mav be found.
                                                              ~




     Plahrtiffs Origi11al Petition                                               Pagel
           -          -
    Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21            Page 7 of 19 PageID 14
'

                                                II.
                                     JURISDICTION AND VENUE
             3.      The amount in conh·oversy herein, exclusive of costs and interests,

     exceeds the miniinal jurisdictional limits of this Court. Plaintiff seeks only

     monetary relief of $250,000.00 or less, excluding interest, statutory or punitive

     dmnages and penalties, and attorney's fees m1d costs.

             4.      Venue in Dallas County is proper in this cause .under Section

     15.002(a)(l) of the Texas Civil Practice and Remedies Code because all or a

     substantial part of the events or omissions giving rise to this lawsuit occurred in

     this county. Pursuant to Rule 190.3 of H:e TEXAS RULES OF CIVIL PROCEDURE,

     Plaintiff alleges that this case shall be governed under a Levell discovery control

     plan.


                                              III.


                           FACTUAL BACKGROUND AND
                  CLAIMS FOR NEGLIGENCE AND PREMISES LIABILITY

             5.      On the evening of March 11, 2019, Plaintiff CRYSTAL JONES was a

     business invitee of the Kroger Store located at 3939 Frankford Road, Dallas,

     Dallas County, Texas 75287 which is operated by and in the sole conh·ol of

     Defendant. As Plaintiff shopped around the store with her boyfriend and son,

     she walked down one of the aisles where she suddenly and without warning

     slipped on a melted liquid left on the floor, falling to the ground and injuring her

     right ankle. After her fall, Plaintiff was examined by emergency medical services



     Plailrtiffs Origiual Petition                                                 Page2
.   Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21               Page 8 of 19 PageID 15




     and she was transported to Texas Health Presbyterian Hospital in Plano by

     ambulance.

             6.       Plaintiff CRYSTAL JONES was, at all times, a consumer and

     traveled to the Defendant's place ot business for Defend.ant' s econon1.ic benefit,

     and as such was considered an invitee. At the time of Plaintiff's fall, the

     Defendant was in possession of the premises. The condition of the premises

     posed an mu·easonable risk of harm. Defendant knew or reasonably should have

     known of the danger; and Defendant breached its duty of ordinary care by: (1)

     failing to adequately warn Plaintiff CRYSTAL JONES of the condition; or (2)

     failing to make the condition reasonably safe. Defendant's breach of these duties

     proximately caused Plairitiff' s injuries, the sums for which she now sues.

             7.       Further, Defendant THE KROGER CO. D/B/A KROGER, its agents,

     servants and/ or employees, also failed to use ordinary care. in one or more of the

     followjng particulars:

             a.       Failure to maintain a safe and hazard-free premises for invitees;
             b.       Failure to properly inspect and maintain the premises to discover
                      the dangerous condition;
             c.       Failure to inspect the premises and protect invitees from hazardous
                      or dangerous cond.i tions;
             d.       Failure to warn Plaintiff CRYSTAL JONES of.the known dangerous
                      condition of the area where her injuries occurred;
             e.       Fail·me to give adequate and con-.prehensible warnings to Plaintiff
                      CRYSTAL JONES of the dangerous condition of the area where her
                      injuries occurred;
             f.       Failure to take action to prevent accident and injury to invitees; and
             g.       Failure to hire, supervise and train employees to take immediate
                      actions to eliminate any harmful conditions and to prevent accident
                      and injury to invitees.


     Plailrtiffs Ol'igiual Petitiou .                                                 Page3
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                                        IV.
                      DAM1'-GES FOR PLAINTIFF CRYSTAL TONES

         .8.        As a result of Defendant's negligence, Plaintiff CRYSTAL JONES

 sustained serious injuries to her right ankle, neck and back as well as suffered

 from headaches. Plaintiff has incun-ed significant medical expenses for doctor's

 visits, radiology imaging studies and other medical care to evaluate and h·eat her

 symptoms. Further, Plaintiff v1ras tmable to perform her normal daily activities

 while she recovered from her injuries. Plaintiff CRYSTAL JONES has incurred

 medical expenses and other damages that are well in excess of the minimal

 jurisdiction...1.llimits of this Court.

         9.         In summary, as a result of the injuries caused by Defendant's

 negligent actions, Plaintiff CRYSTAL JONES is entitled to compensation for the

 following categories of damages:

               a.   Past and future physical pain and suffering;
               b.   Past and future mental anguish;
               c.   Past and future physical impairment;
               d.   Past and future medical expenses; and
               e.   Past and futm:e physical c.usfigmement.

                                              v.
                                      JURY DEMAND


         10.        Plaintiff makes a demand for a jury.




 Plai11tif!'s Origiual Petitiou                                                   Page4
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                                               VI.
                                             PRAYER


               For the reasons stated alwve, Plaintiff CRYSTAL JONES respectfully

      requests that Defendant be cited to appear and answer and, upon final trial, that

      judgment be entered· awardi,ng Plairitiff the following:


                   a. Past and future actual damages as set forth herein;
                   b. Costs of comi;
                   c. Pre and post-judgment interest as allowed by law; and
                   d. Such other and further relief to which Plaintiff may be entitled.


                                                  Respectfully submitted.,


                                                  HARRIS* COOK, L.L.P.
                                                  1309-A West Abram
                                                  Arlington, Texas 76013
                                                  817/275-8765- Telephone
                                                  817/460-8060- Facsimile

                                                  Ls/Melinda H. Barlow
                                                   MELINDA H. BARLOW
                                                   State Bar No. 00783601
                                                   DAVID L. COOK
                                                   State Bar No. 00798116
                                                 . EserviceArl@harriscooklaw.corn
                                                   ATTORNEYS FOR PLAINTIFF




      Plaiutiff's 01·igiual Petitio11                                                 PageS
Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21   Page 11 of 19 PageID 18




                 EXHIBIT 3




                                                          Exhibit 3
                                                                                                                                                                                                                         FILED
                                                                                                                                                                                                             3/11/2021 9:51 AM
                                                                                                                                                                                                             JOHN F. WARREN
                  Case 3:21-cv-00711-L Document 1-2 INFORMATION
                                         CIVIL CASE  Filed 03/26/21  Page 12 of 19 PageID 19
                                                                  SHEET                                                                                                                                        COUNTY CLERK
                                                                                                                                                                                                              DALLAS COUNTY
                                           CC-21-00905-B

                      STYLED~~~~~~~~~~~--~~~~~L-~~~~~~~~~~~~----~--~~--~----------------
                                                   (e.g., John Smith v. All American Insurance     ; In re Mary An Jones; ln          e Matt r of the Estate of George Jackson)
A civil case information sheet must be completed and submitted when an original petition or application is tiled to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
the time of filing.
I. Contact information for person completine use information sheet:                                       Names of parties in case:                                          Person or entity completine sheet is:
                                                                                                                                                                          u;}Attomcy for Plaintitl7Petitioner
Name:                                                        Email :                                      PI aint iffl. s )/Petitioner( s):                               0Pro Se Plaintiff/Petitioner

                                                                                                             ~~\:&rt~
                                                                                                                                                                          0Title IV-D Agency
Melnda                                                       melin.-clharriec:oold- com                                                                                   OOther:

Address:                                                    Telephone :
                                                                                                                                                                          Additional Parties in Child Support Case:
1308-A WMIAbnlm                                              117·27~785


                                                                                                          Defendant( s )/Respondent( s ):                                 Custodial Parent:
City/State/Zip:                                              Fax:

Mingl<ln, TX 7!1013                                          I17..<IIJO.IOIIO
                                                                                                         -:JW.~Co. ~'b\tL                                                 Non-Custodial Parent:
                                                                                                                     ~C!f.(
Signature:                                                  State Bar No:

Melnd• Battow           _.... ............. .._.
                        ....................                 00713C101
                                                                                                                                                                          Presumed Father:

                                                                                                          [A t1ACh add• ti onal page as necessary to l151 all parties l

2. Indicate case type or identify the most important issue in the case (select only/):
                                                                       Civil                                                                                                  Familv Law
                                                                                                                                                                                         Post-judgment Actions
          Contract                                          Injury or Dama2e                            Real Property                            Marrlaee Relationship                     (non-Title IV-D)
Debr/Contracl                                         [;JAssaul t/Battery                         0Eminent Domain/                              0Annulment                            f:)Enforcement
  0Consumer/DTP A                                     0Construction                                 Condemnation                                0Declare Marriage Void                0Modification--Custody
  0Debt/Contract                                      0Defamation                                 0Partition                                    Divorce                               0Modification--Other
  0Fraud/M isrepresentation                           Malpraclice                                 OQuiet Title                                    OW ith Children                              Title IV·D
  OOther Debt/Contract:                                  0Accounting                              0Trespass to Try Title                          0No Children                        OEnforcement/Mod ification
                                                         OLe gal                                  OOther Property :                                                                   0Patemity
Forecloswe                                               0Medical                                                                                                                     0Reciprocals (UIFSA)
  0Home Equity-Expedited                                 00ther Professional                                                                                                          0Support Order
  OOther Foreclosure                                       Liability:
0Franchise                                                                                           Related to Criminal
Dlnsurance                                            0Motor Vehicle Accident                              Matters                                 Other Familv Law                    Parent-Child Relationship
DLandlord/Tenant                                      II]Premises                                 QExpunction                                    0Enforce Foreign                     0Adoption/Adoption with
0Non-Competition                                      Producl Liability                           0Judgment Nisi                                   Judgment                             Termination
0Partnership                                            0Asbestos/S il ica                        0Non-Disclosure                                D Habeas Corpus                      0Child Protection
OOther Contract:                                        OOther Product Liabil ity                 0Seizure/Forfeiture                            0Name Change                         0Child Support
                                                            List Product:                         0Writ of Habeas Corpus-                        0Protective Order                    0Custody or Visitation
                                                                                                    Pre-indictment                               0Removal of Disabilities             0Gestational Parenting
                                                      00ther Injury or Damage :                   OOther:                                          of Minority                        0Grandparent Access
                                                                                                                                                 OOther:                              0Parentage!Patemity
                                                                                                                                                                                      0Termination of Parental
             Employment                                                                   Other Civil                                                                                   Rights
                                                                                                                                                                                      00ther Parent-Child:
0Discrimination                                         0Administrative Appeal                    0Lawyer Discipline
0Retaliation                                            0Antitrust/Unfair                         0Perpetuate Testimony
0Termination                                              Competition                             0Securities/Stock
0Workers' Compensation                                  0Code Violations                          0Tortious Interference
00ther Employment:                                      0Foreign Judgment                         OOther:
                                                        Olntellectual Property

            Tal                                                                                                     Probate & Mental Healtlr
 0Tax Appraisal                                         Probate/Wills/Intestate Administration                                bJGuard ianship-Adult
 0Tax Delinquency                                         0 Dependent Administration                                          0Guardianship-Minor
 00therTax                                                Olndependent Administration                                         OMental Health
                                                          OOther Estate Proceedings                                           OOther:

3. Indicate orocedure or remedv, if aoplicable (may se/ectnwre tlran 1):
 0Appeal from Municipal or Justice Court                    ~Declaratory Judgment                                 UPrejudgment Remedy
 D Arbitration-related                                      0Garnishment                                           0Protective Order
 0Attachment                                                0Interpleader                                          0Receiver
 0Bill ofReview                                             OLicense                                               Osequestration
 0Certiorari                                                0Mandamus                                              0Temporary Restraining Order/Injunction
 0Class Action                                              0Post-judgment                                         0Tumover
4. Indicate dama2es soueht (do not select I/ it is a family law case):
 0Less than $1 00,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
 0Less than S 100,000 and non-monetary relief
 DOver $100, 000 but not more than $200,000
    Over $200,000 but not more than $1 ,000,000
 DOver $1,000,000

                                                                                                                                                                                                        Rev 2/13
Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21   Page 13 of 19 PageID 20




                 EXHIBIT 4




                                                         Exhibit 4
                                                                                                                     FILED
                                                                                                         3/25/2021 2:20 PM
                                                                                                         JOHN F. WARREN
  Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21                 Page 14 of 19 PageID 21                 COUNTY CLERK
                                                                                                          DALLAS COUNTY



                                    CAUSE NO. CC-21-00905-B

 CRYSTAL JONES,                        §                 IN THE COUNTY COURT
       Plaintiff,                      §
                                       §
 vs.                                   §                 AT LAW NO. 2
                                       §
 THE KROGER CO. d/b/a KROGER           §
       Defendant.                      §                 DALLAS COUNTY, TEXAS
______________________________________________________________________________
                DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL

       Defendant The Kroger Co. (“Kroger” or “Defendant”), improperly identified as The Kroger

Co. d/b/a Kroger, files this Original Answer and Verified Denial and in support thereof would

respectfully show the Court as follows:

                                                 I.
                                          VERIFIED DENIAL

       1.      By way of verified denial pursuant to Texas Rule of Civil Procedure 93, Defendant

denies that Plaintiff is entitled to recover from Defendant in the capacity in which it has been

sued. Specifically, Defendant denies that “The Kroger Co. d/b/a Kroger” owned or operated the

store at any relevant time. Consequently, to the extent Plaintiff has any right or potential right of

recovery – which Defendant contests – Kroger Texas L.P. is the only proper Kroger entity to this

action. See, e.g., Ray Malooly Trust v. Juhl, 186 S.W.3d 568, 571 (Tex. 2006).

                                                II.
                                          GENERAL DENIAL

       2.      Defendant denies each and every material allegation contained in Plaintiff’s

Original Petition, demands strict proof thereof, and to the extent that such matters are questions

of fact, says Plaintiff should prove such facts by a preponderance of the evidence to a jury, if she

can so do.



DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                            Page 1 of 6
  Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21                 Page 15 of 19 PageID 22



                                                 III.
                                              DEFENSES

       3.      Defendant specifically denies Plaintiff’s allegations that it and/or its employees

were negligent, and Defendant denies that its alleged acts or omissions proximately caused

Plaintiff’s damages, if any.

       4.      Defendant claims it had neither actual nor constructive knowledge of the

condition about which Plaintiff complains, and further asserts that, in any event, the alleged

hazard was not “unreasonably dangerous.”

       5.      Defendant claims that the alleged premises condition of which Plaintiff complains

was already appreciated by Plaintiff, was open and obvious, was not concealed, and/or was a

known risk and, therefore, Defendant denies that it owed any duty to warn Plaintiff of the alleged

premises condition or protect Plaintiff from same. See Austin v. Kroger Texas L.P., 465 S.W.3d

193, 203 (Tex. 2015).

       6.      Plaintiff’s damages or injuries, if any, were caused by the acts of third persons not

under the control of Defendant. Such acts or omissions of said third persons were the sole,

producing, proximate, intervening, or supervening cause of Plaintiff’s damages or injuries, if any.

       7.      Plaintiff failed to use that degree of care and caution that would has been used by

a reasonable person under the same or similar circumstances, thereby proximately causing

Plaintiff’s injuries and damages, if any. Such acts or omissions of Plaintiff were the sole proximate

cause of Plaintiff’s damages or injuries, if any.

       8.      In the alternative, the accident complained of was an unavoidable accident, as

that term is defined under Texas law.




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                            Page 2 of 6
  Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21                  Page 16 of 19 PageID 23



       9.      Defendant respectfully requests that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.

       10.     In the unlikely event an adverse judgment is rendered against Defendant in this

matter, Defendant respectfully pray for contribution, indemnity and/or all available credits as

provided for in the Texas Civil Practice and Remedies Code and under Texas law.

       11.     The damages about which Plaintiff complains, if any, were the result of prior or

pre-existing or subsequent injuries, accidents or conditions, and said prior or pre-existing or

subsequent injuries, accidents or conditions were the sole and/or a contributing cause of

Plaintiff’s damages alleged against Defendant.

       12.     Plaintiff breached her duty to mitigate damages by failing to exercise reasonable

care and diligence to avoid loss and minimize the consequences of damages.

       13.     Plaintiff is malingering and/or exaggerating the nature and severity of her injuries

in order to continue treatment, and accordingly, Defendant contends said treatment is not

medically necessary or reasonable.

       14.     Any claims for medical or health care expenses incurred are limited to the amount

actually paid or incurred by or on behalf of Plaintiff, pursuant to Texas Civil Practice and Remedies

Code §41.0105.

       15.     Pursuant to Texas Civil Practice & Remedies Code § 18.091, to the extent that

Plaintiff is seeking a recovery for loss of earnings, lost wages, loss of earning capacity and/or loss

of contributions of pecuniary value, evidence of such alleged losses must be presented by Plaintiff




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                             Page 3 of 6
  Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21                 Page 17 of 19 PageID 24



in the form of a net loss after reduction for income tax payments, or unpaid tax liability to any

federal income tax law.

                                             IV.
                                REQUESTS FOR COURT REPORTER

       16.     Defendant respectfully demands a court reporter be present at all proceedings

before the Court.

                                                V.
                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that Plaintiff take

nothing by this cause of action, that Defendant be permitted to recover the costs expended on

its behalf, and for such other and further relief to which Defendant may show itself justly entitled,

in law or in equity.

                                              Respectfully submitted,

                                              /s/ B. Kyle Briscoe
                                              B. Kyle Briscoe
                                              State Bar No. 24069421
                                              kbriscoe@peavlerbriscoe.com
                                              Seth R. Lightfoot
                                              State Bar No. 24093625
                                              slightfoot@peavlerbriscoe.com
                                              PEAVLER|BRISCOE
                                              2215 Westgate Plaza
                                              Grapevine, Texas 76051
                                              (214) 999-0550 (telephone)
                                              (214) 999-0551 (facsimile)
                                              ATTORNEYS FOR DEFENDANT




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                            Page 4 of 6
  Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21                Page 18 of 19 PageID 25



                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to, and in accordance with, the Texas Rules of Civil
Procedure on March 25, 2021.

                                            /s/ B. Kyle Briscoe
                                            B. Kyle Briscoe




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                       Page 5 of 6
      Case 3:21-cv-00711-L Document 1-2 Filed 03/26/21                    Page 19 of 19 PageID 26



                                                   VERIFICATION

       STATE OF TEXAS                          §
                                               §
       COUNTY OF TARRANT                       §

        Before me, the undersigned authority, did personally appear Seth R. Lightfoot, who upon
his oath deposes and says that he is one of the attorneys of record for Defendant, he has never
been convicted of a disqualifying crime, he is over the age of 21, and he is competent to make
this verification. Accordingly, Mr. Lightfoot verifies that the material facts alleged in section "1.
Verified Denial" of the foregoing pleading are within his personal knowledge and true and
correct.




             Subscribed and sworn to before me on this ;x5.fhday of March 2021.




  ,,,~~~;:,,,.,. ELIZABETH CONTRERAS
l~~::i:;~<i1f. Notary Public, State of Texas
                                                        M~/
                                                      NOTARY PUBLIC in and for the State of Texas
i~}.. Jl'{);j Comm. Expires 02-06-2024
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